                    Case 2:16-cr-00005-BAT Document 19 Filed 10/26/16 Page 1 of 2
PROB 12B
(01/13)
                             UNITED STATES DISTRICT COURT
                                                            for
                                       Western District of Washington
                       Request for Modifying the Conditions or Term of Supervision
                                      with Consent of the Offender
                                 (Probation FormLove
                                                 49, Waiver of 12B
                                                     Jonathan  Hearing is Attached)
Name of Offender: Jonathan Love                                               Case Number: 2:16-CR-00005-BAT
Name of Judicial Officer:    The   Honorable  Brian A. Tsuchida, United States Magistrate Judge
Date of Original Sentence: 04/20/2016                                                 Date of Report: 10/24/2016
Original Offense:        Deprivation of Rights Under Color of Law
Original Sentence:       30 days confinement; 1 year supervised release
Type of Supervision: Supervised Release                              Date Supervision Commenced: 06/22/2016
Assistant U.S. Attorney:     Matthew   Diggs                                  Defense Attorney: Robert Chadwell
Special Conditions Imposed:
 Substance Abuse                   Financial Disclosure              Restitution: $12,000
 Mental Health                     Fine                              Community Service
 Other: 100 hours of community service; disclose all assets and liabilities; maintain a single checking account;
no new lines of credit; submit to search; resign membership in the bar association.
                                        PETITIONING THE COURT
 To extend the term of supervision for    years, for a total term of years.
 To modify the conditions of supervision as follows:
ADD:
Defendant’s employment shall be subject to approval by the probation officer.

                                                         CAUSE

Mr. Love was released to supervision in the Western District of Washington on June 22, 2016. He has been
making efforts to complete his community service, has paid his restitution in full, and has been searching for
gainful employment. He has had little success finding suitable employment in this district and has been living
between various friends’ homes. He has proposed to relocate his supervision to the District of Oregon. The United
States Probation Office in the District of Oregon has agreed to accept supervision of Mr. Love’s case, provided we
add the above noted condition as they believe it will aid in their supervision of his case.

Mr. Love has been notified of this request and has signed a waiver of hearing agreeing to this modification.

Defense counsel has been contacted and has no objection to the proposed modification.
                  Case 2:16-cr-00005-BAT Document 19 Filed 10/26/16 Page 2 of 2
The Honorable Brian A. Tsuchida, United States Magistrate Judge                                       Page 2 of 2
Request for Modifying the Conditions or Term of Supervision
with Consent of the Offender                                                                    October 24, 2016
                                          I swear under penalty of perjury
                                                           October         that the foregoing is true and correct.
                                                                    24, 2016
                                                         Executed on this 24th day of October, 2016.

APPROVED:                                                A
Connie Smith                                             Erin O'Donnell
Chief U.S. Probation and                                 U.S. Probation Officer
Pretrial Services Officer
BY:
A
Sarah R. Johnson
Supervising U.S. Probation Officer

                        THE COURT FINDS PROBABLE CAUSE AND ORDERS:
   No Action Approved
   The Extension of Supervision as noted above
   The Modification of Conditions as noted above
   Other

                                                                          Signature of Judicial Officer

                                                                                      Date
